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“UNITED: STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK ye
DATE FILED: May 5 4204

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Y fe ol 00th 7, /
(In the space above enter the full name(s) of the plaintiff(s)/petitioner(s).) Le. :
civ. YHF \-4(_)

NOTICE OF MOTION

 

 

 

RECEIVED

 

 

i i f y 7
—— FIST OF WHE eF cL SH FES OMENS MAY 272016»
ORETIY A. PRESKA
CHIE ISTRIGT JUDGE
PLEASE TAKE NOTICE that upon the annexed affirmation of Vihear
(name)
affirmed on Why iW : 2o/f,. , and upon the exhibits attached thereto (delete if no

 

f
(date)
exhibits), the accompanying Memorandum of Law in support of this motion (delete if there is no

Memorandum of Law), and the pleadings herein, plaintiff/defendant will move this Court, before |

  

— (circle one)
hella LZ Z'Cd hy , United States District/Magistrate Judge, for an order
(Judge’s name) “nate RI y Lf fis (circle one)
pursuant to Rule of the Fede pn Procedure sranting (staté hat you want the _/) >
Jpdge to order): hie Leese Zé iled pied Ly, Myth sh ses ee!

 

 
  
 

 

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wT ds J Della

I declare under penalty of perjury that the foregoing is true and correct.

{ / , *
Dated: Meu! _fub_. A Signature AL ti
(city) (state) Mp, a
May 4 , » Lr00k ly Lee Mes,

(month) (day) (year) Teleph one Nu
Fax Number (if you have one)

  
 

 

Rev. 05/2010
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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In th b he full he plaintiff(s)/petiti ; WWF
(In the space above enter the fu name(s) of the plaintiff(s)/petitioner(s).) /f tf Civ. Ip MG (_) (_)
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(In the space above enter the full name(s) of the defendant (s)/respondent(s).) 62 ©
I, ZL WU Zilitt LESH L; Avaffirm under penalty of perjury that: @
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(name, iY i
1. I, Uy hl fe ser k jen the plaintiff/defendant in the above entitled action,

(name) (circle one) _—— s Sida .

fr Cha! fut move ve) Ly to issue an order Lilith Md Uh, PLett led BE we # Lb, 00

Tor phe’ hil CH RM) fei jitl She /. »p(state wh nt the Judge to order)” ,
foe, JUPreties he oy wy € DiMnge Lose penta UN meceeny phe

2. The reason why I am entitled to the relief I seek is the following (state all your reasons

- fe
using additional paragraphs and sheets of paper as necessary): i dh, ge Lf Wet De. LE. aft f Sf ho
fl pik tds Why Li. Md etl. ele flit, Ushi, g Mia

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WHEREFORE, I respectfully request that the Court grant this motion, as well as such

 

other and further relief as may be just and proper.

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Dated: 3, LH /
(city) (state), ; Address ALA) (7. CGA, fy 1,
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Signature

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(month) (day) (year) Teléphone Num
Fax Number (if you have one)

 

Rev. 05/2010
UNITED STATES DISTRICT COURT

$ pe DISTRICT OF NEW YORK
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(List the name(s) af the plaintifj(‘s)/petitioner(s).) Ib cw lh HS | US (___)

AFFIRMATION OF SERVICE

 

 

  
     

(List the name(s)

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Association

Transforming Lives, Communities

Date: May 23, 2016

and the Criminal Justice System

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www.osborneny.org
info@osborneny.org

Re: William Escalera

To whom it may concern:

This letter serves as confirmation for Mr.
referred to the Osborne Association through the New York City Department
Individualized Corrections Achievement Network (ICAN)
I-CAN is an innovative jail-based community

William Escalera who was

of Correction -

program since April 2016.
re-entry program focusing on people assessed to be at high risk for re-

incarceration. While incarcerated, individuals receive the following
services: Creative Writing and Job Readiness Training Workshops, Anger
Management and Financial Literacy Groups, Housing and _ Employment

referrals and Weekly Support Groups (upon release).

Mr. William Escalera continues to be an active member and a positive

contributor to the ICAN program at Brooklyn Detention Center. He comes
prepared to groups and participates frequently. Currently, he is working

workshops and training such as: MRT

Financial Literacy and Creative Writing.

towards completing various

Employment, Anger Management,
Additionally, he will be registered for the 1@- Hour OSHA training and

will use this certification to obtain employment upon release. Mr.
William Escalera has expressed to me that he is ready for rehabilitation
and understands that this can only be achieved through guidance and hard
work. If you have any further questions, feel free to contact me at: 175
Remsen Street, 8th Floor, Brooklyn, NY 11201 or call (347) 505-6644.

Sincerely,
Waheeda Sohan, MSW
Senior Re-Entry Specialist

wsohan@osborneny.org

 

e Administration 809 Westchester Avenue, Bronx, NY 10455 718-707-2600 Fax: 718-707-3102
Bronx 809 Westchester Avenue, Bronx, NY 10455 718-707-2600 Fax: 718-707-3102
Brooklyn Site 175 Remsen Street, Suite 800, Brooklyn, NY 11201 718-637-6560 Fax: 718-237-0686

845-345-9845 Fax: 845-849-0621

Poughkeepsie Site 25 Market Street, 6 Floor, Poughkeepsie, NY 12601
 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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Me A. ln Lpehkery bp
J Ib el- 0099 Oe
(List the full name(s) of the plaintiff(s)/petitioner(s).) I Ny wH0 4 ( )

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Notice is hereby giyef that the following parties: /) 4 YW fim he Cy el it hts g

tS Mh. Marsal Me bawrves ui Lh J he te ldd fork

(list the names 5 ofa ee who are filing an appeal)

 

Wy

in the above-named case appeal to the United States Court of Appeals for the Second Circuit

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Telephone Number E-mail Address (if available)

 

“Each party filing the appeal must date and sign the Notice of Appeal and provide his or her mailing address and telephone
number, EXCEPT that a signer of a pro se notice of appeal may sign for his or her spouse and minor children if they are parties
to the case. Fed. R. App. P. 3(c)(2). Attach additional sheets of paper as necessary.

Rev. 12/23/13
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Summary View for ESCALERA, WILLIAM Page 1 of 3

 

NYC ESCALERA, WILLIAM

NYSID: 06334298H BookCase: 3491514126
Ej = AL i ei! wolfe Facility Code: MDC Housing Area: 7S
46 Y old Male, DOB: 04/27/1969
HOSPITALS 300 W ganit st NY MY dooes
Home: 333-333-3333
Insurance: Medicaid ,
Appointment Facility: Manhattan Detention Center

 

Appointment Provider: Bessie Flores-Clemente, PA

01/04/2016
Current Medications Reason for Appointment
Albuterol Sulfate HFA 108 (90 Base) 1. Lt-Sided Pain, Eczema Flareup
MCG/ACT Aerosol] Solution 2 puffs as needed
sue Heute: ae needed. atop date History of Present Iliness
03/12/201 as
Keppra 500 mg Tablet 2 tabs Twice a Day, Notes:: ‘ .
siocdate 01/12/2016 Pt c/o It flank pain X couple weeks, s/p altercation before arrest.
Hydrochlorothiazide 25 MG Tablet 1 tab Also c/o eczema flareup X couple days.
Daily, stop date 03/12/2016 VISIT COMPLEXITY SCALE:
DermaVantage 1 Lotion QS Daily, stop date NIANLINITAVED Anna
ouee fants NON-INTAKE ACUITY .
Hydrocortisone 1 % Cream 1 application to Non-Intake Acuity Scale 2: Complicated sick call ( ‘problem
affected area Twice a day, stop date requiring diagnostic evaluation, documented history, physical exam,
01/09/2016 specified follow up) OR One chronic condition addressed with

components specified in (3)

Past Medical History
Vital Signs

 

 

 

 

 

 

 

 

 

 

 

 

 

Chickenpox
Seizures hx
Asthma hx isd -
Eczema hx 128/88 01/04/2016 11:25:23 _ Bessie Flores-
AM Cl t
Allergies —— vin
N.K.D.A. Pulse
66 01/04/2016 11:25:23 _ Bessie Flores-
AM Clemente
RR
1 01/04/2016 11:25:23 Bessie Flores-
7 AM Clemente
Temp
97.0 01/04/2016 11:25:23 _ Bessie Flores-
7 AM Clemente
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96 01/04/2016 11:25:23 Bessie Flores-
AM Clemente
Examination
General Examination:

GENERAL APPEARANCE: well-appearing, well-developed, no
acute distress.

HEENT: nose - clear, pharynx - clear.

HEART: normal S1S2.

 

 

Patient: ESCALERA, WILLIAM DOB: 04/27/1969 Progress Note: Bessie Flores-Clemente, PA 01/04/2016
Note generated by eClinicalWorks EMR/PM Software (www. eClinicalWorks.com)

https://chsricbpdlb.riepf.com/mobiledoc/jsp/catalo g/xml/printChartOptions.jsp?encounterID... 3/7/2016
Summary View for ESCALERA, WILLIAM Page 2 of 3

CHEST: no ecchymosis/swelling/tenderness.
LUNGS: clear to auscultation bilaterally, no

wheezes/rhonchi/rales.
SKIN: +scaling to forehead, hyperpigmented patch to rt cubital

fossae area,

Assessments
1, DERMATITIS NOS - 692.9 (Primary)
2. MUSCULOSKEL ANOM NEC/NOS - 756.9

Treatment

1. DERMATITIS NOS
Stop Hydrocortisone Cream, 1%, 1 application to affected area,

Externally, Twice a day, 10 days, Pharmacy
Start Fluocinonide Ointment, 0.05 %, QS, Topical, Twice a Day, 14

days, Pharmacy
Pt ed done. Fluocinonide Oint X 14d.

2. MUSCULOSKEL ANOM NEC/NOS
Start Naprosyn Tablet, 250 MG, 500 mg, Orally, Twice a Day, as

needed, 4 days, Pharmacy
Pt ed done. Naprosyn X 4d.

3. Others
eCW indicated pt has 01/14/2016 Medical FU, Re: Asthma, HTN, Sz

Ds.

Follow Up
prn (Reason: SCT)

Disposition: General Population

Appointment Provider: Bessie Flores-Clemente, PA

Electronically signed by Bessie Flores-Clemente PA on
01/04/2016 at 11:32 AM EST

Sign off status: Completed

 

 

Patient: ESCALERA, WILLIAM DOB: 04/27/1969 Progress Note: Bessie Flores-Clemente, PA 01/04/2016
Note generated by eClinicalWorks EMR/PM Software (www.eClinicalWorks.com)

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Summary View for ESCALERA, WILLIAM

Page 1 of 8

 

NYC

HEALTH --
HOSPITALS

Insurance: Medicaid

12/13/2015

Current Medications
None

Past Medical History

Chickenpox
Hypertension
Seizures

Social History
General;
Alcohol Hx
current alcohol use No
Intake social history:
Drug use
currently using drugs No
ever used drugs No
currently in methadone program No
Ever accidentally overdosed No
Ever used a needle to inject drugs No
Smoking
are you a smoker current
how much do you smoke < halfa pack a
day
do you want to quit No
Alcohol
do you drink No
(specify) occasional
Violence
ever hit or assaulted anyone Yes
ever been charged with sexual offense No
ever been assaulted Yes
ever been a victim of sexual abuse No
Education
grade level completed high school
learning disability No
were you in special education No
Sexual history
sexually active with neither
current number of sexual partners o
do you and your partner use condoms No

Allergies
N.K.D.A.

 

ESCALERA, WILLIAM

NYSID: 06334298H BookCase: 3491514126
Facility Code: MDC Housing Area: RR
46 Y old Male, DOB: 04/27/1969
390 W 34TH ST, NY, NY-10001
Home: 333-333-3333

Appointment Facility: Manhattan Detention Center

Appointment Provider: Mauricio Silva, MD

Reason for Appointment
1. Intake, male

History of Present Iiliness

Asthma:

Intake hx done by AO, RN. Dental hygeine , TCNY and MPI
brochures given to patient with instructions. RHIO and PSYCHES
consents obtained.

Kepra 500mg 2 tabs po, Tylenol2 tab po given. H, Kapadia RN.
New Intake:

Medical History

Current medical provider hospital clinic

Name/address of medical provider Dr. Lucas, Family Health

Institute, 119 Madison Ave

when last seen by medical provider < week ago

disabilities No

chickenpox yes

STD No

hypertension Yes

year diagnosed 2014

heart disease No

diabetes No

seizures Yes

date diagnosed 1985

related to don't know

date last seizure 1-6 months ago

Liver disease No

kidney disease No

cancer No
Asthma History

asthma Yes

date diagnosed 1974

ever hospitalized No

ER visits in the last year No

needed steroids in last year No

best peak flow don't know

how often use rescue inhaler couple of times a month
TB History

Have you ever had active TB no

History of positive Tuberculin Skin Test No

 

Patient: ESCALERA, WILLIAM DOB: 04/27/1969 Progress Note: Mauricio Silva, MD 12/13/2015
Note generated by eClinicalWorks EMR/PM Software (www.eClinicalWorks.com)

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Summary View for ESCALERA, WILLIAM Page 2 of 8

f TB symptoms None
Recent exposure to TB no
No history of TB or LTBI Asymptomatic
HIV History
HIV/AIDS no
have you ever been tested for HIV Yes
date last tested 11/2015
result of last test negative
do you want to have HIV test today no
do you want to be scheduled for HIV test no
reason for declining test had recent test
Mental Health History
Mental health or Nervous problems Yes
What type Depression,Anxiety
Required hospitalization No
in treatment No
Ever tried to hurt or kill yourself no
family history of mental illness No
family history of suicide No
Trouble falling or staying asleep No
Changes in appetite or eating habits No
You feel hopeless or worthless No
Little interest or pleasure in doing things No

TEMPLATES:

New Admission MDC/VCBC/RNDC/ OBCC/EMTC

Ebola Virus Disease (EVD) Screening:
Ebola Virus Disease (EVD) Screening
Travel to a country with widespread EVD transmission (Guinea,
Sierra Leone) in the last 21 days? No /
Exposure to known or suspected Ebola patient in the last 21 days?
No/
COMMUNITY ME DICATION FILL HISTORY:
Did you check Community Medication Fill Database?
Did you check Community Medication Fill Database? Yes /
Community Medication Fill History Results (Copy/Paste from
Database) / HYDROCORTISONE VAL, 60 0.2% CREAM 60GM -
00713066860 6/28/2015
LEVETIRACETAM, 30 500MG TABLETS - 68180011302

6/28/2015
PROAIR INH (200 PUFFS)8.5GM DOS CTR, 8.5 - 59310057922
6/28/2015
IBUPROFEN, 90 800MG TABLETS - 65162110305 2/8/2015
HYDROCORTISONE VAL, 60 0.2% CREAM 60GM -

00713066860 6/28/2015
LEVETIRACETAM, 30 500MG TABLETS - 68180011302

6/28/2015
PROAIR INH (200 PUFFS)8.5GM DOS CTR, 8.5 - 59310057922

6/28/2015
IBUPROFEN, 90 800MG TABLETS - 65162110305 2/8/2015

What medication are you currently taking? (As reported by
patient) KEPRA 1000 mg po bid

 

 

Patient: ESCALERA, WILLIAM DOB: 04/27/1969 Progress Note: Mauricio Silva, MD 12/13/2015
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ALBUTEROL MDI
hydrochlothiaze 25 mg
anxiolitic
Hydrocortizone.
320 Suicide Prevention Form:
330 Suicide Prevention Form
330 Suicide Prevention Form present? Yes
330 Suicide Prevention Form reviewed by intake clinician? Yes
Asthma Teaching:

overexertion Dust, Pollen, Smoke, Stress & Anxiety.

Medication compliance using albuterol daily.

Asthma control Asymptomatic.

Inhaler technique good technique.

Educated on: Components of asthma- inflammatory and
bronchospasm, Avoidance of triggers, Inhaler/Discus use, Controller
medication use, Rescue Medication use, Signs and symptoms of acute
attack, How to access clinic.

Asthma Action Plan Action plan reviewed.

VISIT COMPLEXITY SCALE:
INTAKE ACUITY
Intake Acuity Scale 4: More than 3 chronic conditions or a

problem requiring hospital transfer

Vital Signs

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ht
5ft7in 12/13/ a 11:29:03 Shelly Williams
Wt
175 12/13/ a 11:29:03 Shelly Williams
BMI
27.44 12/13/2015 11:29:03 shelly Williams
BP
133/90 12/13/ 7Oke72'03 Shelly Williams
Pulse
70 12/13/2045 11:29:03 Shelly Williams
RR
“4 12/13/2015 11:29:03 Shelly Williams
Temp
97.4 12/13/2015 11:29:03 shelly Williams
Peak Flow
350 12/13/2085 11:29:03 shelly Williams

 

 

 

 

 

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SaO2
99 12/13/ oh 12:29:03 Shelly Williams
Past Orders

EKG (DI) (Order Date - 12/13/2015)

Result: Refused

Notes: Ojurongbe,Abimbola , RN 12/13/2015
11:27:38 PM > Patient is alert and oriented x3,
not in acute distress. Patient denies chest pain, no
SOB noted. Patient refused 12 Lead EKG, signed
the refusal form. A. Ojurongbe, RN
Rapid HIV Test (Order Date - 12/13/2015)

Result: Refused

Rapid HIV Test REFUSED

Notes: Williams,Shelly , PCA 12/13/2015
11:29:01 PM > REFUSED
Urine Drug Screen (Order Date - 12/13/2015)
(Collection Date - 12/13/2015)

Result: Normal/Negative/Non-Reactive

Cocaine NEG

Meth NEG

Opiates NEG

Benzos NEG

Notes: Jacob,Lena , PCA 12/13/2015 11:50:54
PM>,

Physical Examination
General Appearance:

General Appearance: Normal.
Hygiene: /.
Ill-appearance: /.
Speech: /.
Eye contact: /.
Build: /.
BACK:
General: Normal.
Spine: /.
ROM: /.
HEENT:
Head: normocephalic, atraumatic.
General Normal.
Eyes: PERRLA, EOMI, no nystagmus, non-icteric sclera,
conjunctiva clear.

Fundi: normal.
Ears: normal, tympanic membranes intact bilaterally, ear canals

unremarkable, external ear unremarkable, no gross hearing deficits.

Nose: /, normal mucosa, no deviation, clear discharge.

Throat: no erythema or exudate.

Oral cavity: no lesions seen/ Left upper lip with simple suture.
NECK: ee ee Re ee
General: normal.

Cervical lymph nodes: /.

 

 

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Thyroid: /.
CHEST:
Shape and expansion: /.
General normal.
DERMATOLOGY:
Skin: /.
Rash: /.
Tattoos: /.
General Normal.
BREASTS:
General
LUNGS:
Auscultation: /.
General Normal.
Airflow: /.
Rate: /.
Percussion: /.
Effort: /.
HEART:
Rate: /.
General Normal.
Rhythm: /,
Heart sounds: /.
Murmurs: /.
PMI: /.
ABDOMEN:
General soft, nontender, BS +,.
Auscultation: /,
Palpation /.
Hernia: /,

RECTUM/ANUS:

 

 

Digital Rectal Exam /, Not Indicated.

General .
Hemorrhoids: /.
Hemoccult: /.
GU - MALE:
General Normal.
External genitals: /.
Penis: /.
Scrotum: /.
Testicles: /.
Prostate: /.
EXTREMITIES:
General: Normal.
LYMPHATICS:
Lymph Nodes /.
General Normal.
Lymphedema: /.
NEUROLOGICAL:
General: Normal.
Cranial Nerves: /.
Motor: /.
Sensory: /,

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MD 12/13/2015

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Reflexes: /.

Plantars: /.

Cerebellar: /.

Gait: /.

Cognition: /.
Involuntary Movements: /.
Speech: /.

Muscle Bulk: /.

Tone: /

MENTAL STATUS EXAM:

Orientation oriented to person, place and time.
General Normal.

Speech normal.

Affect appropriate to mood,
Mood euthymic.
Psychomotor normal.
Thought Process logical.
Delusions denied.
Hallucinations denied.
Suicidal ideation denied.
Homicidal ideation denied.

Assessments

1. ROUTINE MEDICAL EXAM - V70.0 (Primary)

2, Atopic eczema - 691.8

3. Tobacco use disorder - 305.1

4. Screening for other and unspecified cardiovascular conditions -
V81.2

5. EPILEPSY-UNSPECIFIED - 649.40

6, ASTHMA NOS - 493.90, Well controlled

7. Hypertension - 997.91, Well controlled.

8. Anxiety state, unspecified - 300.00

Treatment
1. ROUTINE MEDICAL EXAM
: Rapid HIV Test
LAB: RPR SEROLOGY
LAB: OUANTIFERON-TB IN-TUBE NY

LAB: Urine Drug Screen

LAB: HEPATITIS C ANTIBODY, EIA

LAB; CHLAMYDIA /GC, URINE
Urine drug screen: Negative
Normal exam.
Referral To:Mental Health MDC Mental health

Reason:Pateitn with HX of depression and anxiety. Reprots

taking and unknown anxiolitic. Kindly evalaute. Thank you.

2. Atopic eczema
Will observe as patietn request oinment for hydrocortisone but it is no

longer available.

3. Tobacco use disorder
Advised to stop.

 

 

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4. Screening for other and unspecified cardiovascular

conditions
Diagnostic Imaging:EKG (DI)

5. EPILEPSY. -UNSPECIFIED

Start Keppra Tablet, 500 mg, 2 tabs, Orally, Twice a Day, 30 days,

Pharmacy

Start Keppra Tablet, 500 mg, 2 tabs, Orally, Stat, o days, RN-DOT
LAB: CBC w DIFF & PLATELETS

6. ASTHMA NOS

Start Albuterol Sulfate HFA Aerosol Solution, 108 (90 Base)
MCG/ACT, 2 puffs as needed, Inhalation, Every 6 Hours, as needed, 90
days, Pharmacy

Well controlled on Albuterol.

Follow-up in 4 weeks.

7. Hypertension
Start Hydrochlorothiazide Tablet, 25 MG, 1 tab, Orally, Daily, 90 days,
Pharmacy
Start Hydrochlorothiazide Tablet, 25 MG, 1 tab, Orally, Stat, o days,
RN-DOT
LAB: CHEM 7 PANEL
LAB; LIVER PROFILE
LAB: LIPID SCREEN (CORONARY RISK 1)
Weel controlled.
Will contionue HCTZ 25 mg po daily
Refused EKG.

8. Others
Start Tylenol Tablet, 325 MG, 2 tabs, Orally, Stat, o days, RN-DOT

immunization
Hepatitis B (20 and more) - Refused : 1.0
Influenza - Refused

Preventive Medicine
Counseling:

Smoking .

Diet .

Exercise .

Injury prevention .

Sexual practices .

Procedure Codes

Hepatitis B (20 and more) - Refused
90746 HEP B VACCINE, ADULT, IM
Influenza - Refused

Disposition: General Population

 

 

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Appointment Provider: Mauricio Silva, MD

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if

Electronically signed by Mauricio Silva , MD on 12/14/2015 at
05:21 AM EST

Sign off status: Completed

 

: Manhattan Detention Center
125 White Street
New York, NY 10013
Tel:
Fax:

 

 

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